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                Exhibit B
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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND
                                  NORTHERN DIVISION

 STUDENTS FOR FAIR ADMISSIONS
                             Plaintiff,
 v.
                                                               No. 1:23-cv-2699-RDB
 THE UNITED STATES NAVAL ACADEMY,
 et al.,
                          Defendants.




              STIPULATED CLAWBACK AGREEMENT AND FEDERAL RULE OF
                           EVIDENCE 502(d) ORDER

        The Court hereby orders pursuant to Rule 502(d) of the Federal Rules of Evidence, Rule

26(b) of the Federal Rules of Civil Procedure, and the Court’s inherent authority that the

production of a document, or part of a document, shall not constitute a waiver of any privilege or

protection as to any portion of that document, or as to any undisclosed privileged or protected

communications or information concerning the same subject matter, in this or in any other

proceeding. This Order applies to attorney-client privilege, work-product protection as defined

by Federal Rule of Civil Procedure Rule 26(b), governmental privileges, or any other applicable

privilege. Nothing in this Order shall constitute an admission that any document disclosed in this

litigation is subject to any of the foregoing privileges or protections, or that any party is entitled

to raise or assert such privileges. Additionally, nothing in this Order shall prohibit parties from

withholding from production any document covered by any applicable privilege or other

protection.

        The parties intend that this stipulated order shall displace the provisions of Fed. R. Evid.

502(b)(1) and (2). That is, the disclosure of privileged or protected information, as described
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above, in this litigation shall not constitute a subject matter waiver of the privilege or protection

in this or any other federal or state proceeding, regardless of the standard of care or specific steps

taken to prevent disclosure. However, nothing in this Order shall limit a party’s right to conduct

a pre-production review of documents as it deems appropriate.

       I.      DEFINITIONS

       1.      “Document,” as used herein, includes all items listed in Fed. R. Civ. P.

34(a)(1)(A) and (B).

       2.      “Documents Produced,” as used herein, includes all documents made available for

review or produced in any manner during this litigation.

       II.     PROCEDURES

       The procedures applicable to a claim of privilege on a produced document and the

resolution thereof shall be as follows:

       1.      If a party discovers a document, or part thereof, produced by another party that is

privileged or otherwise protected, the receiving party shall promptly notify the producing party

and must then return the document or destroy it and certify that it has been destroyed to the

producing party. The receiving party must also promptly identify, sequester, and destroy any

notes taken about the document. Nothing in this Order is intended to shift the burden to identify

privileged and protected documents from the producing party to the receiving party.

       2.      If the producing party determines that a document produced, or part thereof, is

subject to a privilege or privileges, the producing party shall give the receiving party notice of

the claim of privilege (“privilege notice”).




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         3.    The privilege notice must contain information sufficient to identify the document

including, if applicable, a Bates number as well as identification of the privilege asserted and its

basis.

         4.    Upon receiving the privilege notice, if the receiving party agrees with the

privilege assertion made, the receiving party must promptly return the specified document(s) and

any copies or destroy the document(s) and copies and certify to the producing party that the

document(s) and copies have been destroyed. The receiving party must sequester and destroy

any notes taken about the document. If a receiving party disclosed the document or information

specified in the notice before receiving the notice, it must take reasonable steps to retrieve it, and

so notify the producing party of the disclosure and its efforts to retrieve the document or

information.

         5.    Upon receiving the privilege notice, if the receiving party wishes to dispute a

producing party’s privilege notice, the receiving party shall promptly meet and confer with the

producing party. The document(s) shall be sequestered immediately upon receiving the privilege

notice and not be used by the receiving party in the litigation (e.g. filed as an exhibit to a

pleading; used in deposition) while the dispute is pending. If the parties are unable to come to an

agreement about the privilege assertions made in the privilege notice, the receiving party may

make a sealed motion for a judicial determination of the privilege claim.

         6.    Pending resolution of the judicial determination, the parties shall both preserve

and refrain from using the challenged information for any purpose and shall not disclose it to any

person other than those required by law to be served with a copy of the sealed motion. The

receiving party’s motion challenging the assertion must not publicly disclose the information

claimed to be privileged. Any further briefing by any party shall also not publicly disclose the


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information claimed to be privileged if the privilege claim remains unresolved or is resolved in

the producing party’s favor.

         7.    If a document must be returned or destroyed as determined by the process above,

that document, along with copies and notes about the document, that exist on back-up tapes,

systems, or similar storage need not be immediately deleted or destroyed, and, instead, such

materials shall be overwritten and destroyed in the normal course of business. Until they are

overwritten in the normal course of business, the receiving party will take reasonable steps to

limit access, if any, to the persons necessary to conduct routine IT and cybersecurity functions.



IT IS SO ORDERED.

Dated:



                                                     ______________________________
                                                     RICHARD D. BENNETT
                                                     United States District Judge




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Dated: January 5, 2024                   Respectfully submitted,

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